       21-10249-mg            Doc 68        Filed 04/21/21 Entered 04/21/21 14:23:41                        Main Document
                                                         Pg 1 of 2




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                                                             April 21, 2021

      The Honorable Martin Glenn
      U.S. Bankruptcy Court for the Southern District of New York
      One Bowling Green
      New York, NY 10004

                 Re: In re Navient Solutions, LLC, Case No. 21-10249 (MG); APPLICATION by
                 PICAP Nonparties (a) to strike new arguments in Navient reply brief filed late
                 yesterday [Dkt 64] or, alternatively, to grant leave to the PICAP Nonparties to file a
                 sur-reply, in response to Navient new arguments, by a date to be designated by the
                 Court and, in addition, (b) for Court consideration of the legal reasons herein from
                 the PICAP Nonparties as an authorized sur-reply to Navient new arguments and
                 (c) related relief [Docket No. 66].

      Dear Judge Glenn:

             I represent Navient Solutions, LLC (“Navient”) and write in response to the above-
      referenced application to strike and/or leave to file a sur-reply (the “Application”) filed by
      Michael B. Wolk on behalf of Public Interest Capital, LLC (“PICAP”) and himself as counsel to
      PICAP (“PICAP Counsel,” together with PICAP, the “Movants”) in response to Navient’s Reply
      in Support of Navient’s Motion for Attorneys’ Fees and Costs Pursuant to 11 U.S.C. § 303(i)
      [Docket No. 64] (the “Fee Motion Reply”). The Application should be denied.

              First, the request to strike should be denied. It is well-settled law that the scope of a
      reply brief extends to any arguments addressed in a response or objection to the principal brief.
      See, e.g., Bayway Refining Co. v. Oxygenated Mktg. and Trading A.G., 215 F.3d 219, 226–27
      (2d Cir. 2000) (“[R]eply papers may properly address new material issues raised in the
      opposition papers so as to avoid giving unfair advantage to the answering party.”) (internal
      quotations omitted); Travelers Ins. Co. v. Buffalo Reins. Co., 735 F. Supp. 492, 495–96
      (S.D.N.Y. 1990), vacated in part on other grounds, 739 F.Supp. 209 (S.D.N.Y. 1990) (granting
      motion to strike surreply because “[a]lthough defendants’ reply papers addressed issues not
      raised in its moving papers, each point in the reply brief directly responds to an issue raised in
      [the other party’s] opposition papers”); In re WorldCom, Inc., 02-13533 (AJG), 2007 WL
      1989262, at *6 (Bankr. S.D.N.Y. July 9, 2007) (“[R]eply papers may address ‘new issues raised
      in the opposition papers so as to avoid giving an unfair advantage to the answering party who


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21-10249-mg       Doc 68     Filed 04/21/21 Entered 04/21/21 14:23:41           Main Document
                                          Pg 2 of 2




April 21, 2021
Page 2


took it upon himself to argue those previously unforeseen issues.’”). The arguments addressed in
the Fee Motion Reply respond to an objection raised in either the Objection by Petitioning
Creditor to Motion for Attorneys’ Fees and Costs Pursuant to 11 U.S.C. § 303(i) [Docket No.
60] (“Counsel Objection”) or the Memorandum of Law for Nonparty Public Interest Capital
LLC, and Nonparty Counsel for Nonparty Public Interest Capital LLC, In Opposition to the
Alleged Debtor’s Post-Dismissal Legal Fee Shifting Liability Motion Against Those Nonparties
[Docket No. 63] (“PICAP Objection”) or both. See Counsel Objection ¶¶ 17–28 (raising
untimely argument under Federal Rule 54(d)); PICAP Objection ¶¶ 34–39 (same); Counsel
Objection ¶¶ 34–35 (raising section 305 jurisdictional argument); PICAP Objection ¶¶ 19–26,
48–49 (same); PICAP Objection ¶¶ 53–54 (requesting a jury trial).

        Second, Movants’ request for leave to file a sur-reply should also be denied. Unlike
Navient — who filed its Motion for Attorneys’ Fees and Costs Pursuant to 11 U.S.C. § 303(i)
[Docket No. 54] (“Fee Motion”) without knowing what, if any, arguments would be made in
response — Movants were aware of certain of the responses set forth in the Fee Motion Reply.
Navient previously summarized those arguments in a written response to PICAP Counsel’s threat
to seek sanctions under Bankruptcy Rule 9011 if Navient did not withdraw the Fee Motion with
respect to Movants. Thus, at the very least, Movants should have reasonably anticipated those
responses as set forth in the Fee Motion Reply and addressed countervailing case law in the
PICAP Objection.

        For these reasons, Navient requests the Court deny the relief requested in the Application.
Please let us know if we can be of any further assistance to the Court.



                                          Respectfully,



                                          /s/ Chad J. Husnick__
                                          Chad J. Husnick, P.C.
